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IN THE UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON

AT TACOMA
PINHAS BARAK,
No.
Plaintiffs,
COMPLAINT FOR DAMAGES AND
Vv. PERSONAL INJURY
STATE OF WASHINGTON; the
WASHINGTON STATE PATROL; and
ZACHARY BLOOMFIELD, JURY TRIAL DEMANDED
Defendants.

 

 

 

 

Plaintiff PINHAS BARAK, by and through his counsel of record, Derek M. Smith and

James J. White, hereby claims as follows:

I.

PARTIES

1.1 Plaintiff PINHAS BARAK is an individual residing in Sherman Oaks,

California, which is located in the Central District of California.

The Law Offices of Smith & White PLLC

 

Derek M. Smith & James J. White

717 Tacoma Ave. South, Suite C Tacoma, WA 98402
T. 253-229-1591 or derek@smithandwhite.com

T. 206-650-6270 or james@smithandwhite.com

F. 206-400-1145 = www.smithandwhite.com

 
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1.2 Defendant STATE OF WASHINGTON is a State of the United States.

1.3 Defendant WASHINGTON STATE PATROL (“WSP?”) is a government
agency organized under the laws of the State of Washington. It is located in Thurston County
in the Western District of Washington.

14 Defendant ZACHARY BLOOMFIELD is a trooper employed by the
Washington State Patrol and, upon information and belief, a resident of Pierce County,
Washington, which is in the Western District of Washington.

I. JURISDICTION & VENUE

2.1 This Court has original jurisdiction over claims brought under 42 U.S.C. §
1983, and 28 U.S.C. §§ 1331 and 1443, and has supplemental jurisdiction over the state law
claims under 28 U.S.C. § 1367(a).

2.2. Venue is properly located in the Western District Court of Washington at
Tacoma under 28 U.S.C. § 1391 (b). The incidents complained of in this complaint occurred
in Pierce County, Washington and some or all of the defendants are residents of Thurston
County, Washington.

2.3. Before filing this action, plaintiff timely filed a claim for damages with the
State of Washington on October 9, 2019, pursuant to RCW 4.96.020. As required by RCW

4.96.020, more than 60 days has expired since the filing of this claim for damages.

The Law Offices of Smith & White PLLC Derek M. Smith & James J. White
‘ 717 Tacoma Ave. South, Suite C Tacoma, WA 98402
YS SS, 2 T. 253-229-1591 or derek@smithandwhite.com
st ‘> T. 206-650-6270 or james@smithandwhite.com

{ \ F. 206-400-1145  www.smithandwhite.com

 
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Hl. JURY DEMAND

3.1 Plaintiff hereby demands a jury pursuant to the Seventh Amendment of the

U.S. Constitution and Fed. R. Civ. P. 38.
IV. STATEMENT OF FACTS

4.1 Plaintiff hereby alleges and incorporates paragraphs 1.1 through 3.1 herein.

4.2 Plaintiff Barak is a resident of Sherman Oaks, California and prior to the
events of August 17, 2018, he did not have a criminal history.

4.3 On Friday, August 17, 2018, On Friday, August 17, 2018 at approximately
1:55 p.m., Pinhas Barak was traveling northbound on Interstate 5 near milepost 133 in
Washington State. Plaintiff Barak was operating a black and white 2018 model BMW
motorcycle, licensed and registered with the State of California and properly displayed as
such. Additionally, the motorcycle was equipped with aftermarket strobe lights, white in
color, that federal Department of Transportation code for use on motor vehicles. Mr. Barak
was wearing a white helmet, a brown leather jacket and lighter brown pants and boots. In
four places on his motorcycle were four stickers. These stickers were approximately 2 inches
by two inches and were a yellow and black shield with black and white checkering displaying
the words “CIGAR BIKER”. Underneath those words were written “Los Angeles, CA” in
smaller font. In the middle of this shield was the profile portrait of XXX. One sticker was
placed on each of the two rear view mirrors so that they were visible from the front of the
motorcycle only. The third was placed on the back of the saddle area and the fourth was

placed on the rear storage box of the motorcycle. The third and fourth stickers were visible

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from the rear of the motorcycle only. Finally, two such stickers were placed on Plaintiff
Barak’s helmet, one on the top of the helmet that could be viewed directly from above, the
other on the area of the helmet covering the lower jaw visible from the front of the helmet.

4.4 Defendant Zachary Bloomfield was at the time of this incident employed as a
trooper and authorized by the Washington State Patrol to enforce the laws of the State of
Washington along the highways of the state, and included the authority to arrest and detain
suspects of criminal activity

4.5 Defendant Bloomfield observed Plaintiff Barak operating his motorcycle. When
first noticing the motorcycle, Defendant Bloomfield believed it to belong to a law
enforcement agency. Defendant Bloomfield observed the white lights and golden badge
stickers located on both the motorcycle and the helmet worn by the rider. Defendant
Bloomfield also observed the motorcycle was lane splitting between lanes 1 and 2 of
northbound Interstate 5. No citation for improper lights was issued nor was Plaintiff Barak
cited for improper lane usage. Defendant Bloomfield activated his emergency lights and
stopped Plaintiff Barak’s motorcycle.

4.6 Plaintiff Barak was notified by Defendant Bloomfield he was being stopped for
lane splitting and impersonation of a police officer. Plaintiff Barak stated he was allowed to
have flashing lights on his motorcycle because the department of transportation told him.
Defendant Bloomfield then questioned Barak about his golden badge stickers. Plaintiff Barak
responded that they were a joke. Defendant Bloomfield photographed the stickers, their

placement, Plaintiff Barak and his motorcycle as part of the criminal investigation of this

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717 Tacoma Ave. South, Suite C Tacoma, WA 98402
S SS, <7 T. 253-229-1591 or derek@smithandwhite.com
) ~_ T. 206-650-6270 or james@smithandwhite.com

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case. Before Plaintiff Barak was allowed to leave Defendant Bloomfield ordered Plaintiff
Barak to remove all of the "CIGAR BIKER” stickers from his motorcycle and his helmet.
Plaintiff Barak believed he had to remove the stickers because he was ordered to by a
Washington State Patrol trooper who was detaining him and subject to arrest. Plaintiff Barak
believed that he had been ordered by the Officer to refrain from replacing the stickers on his
motorcycle and helmet or risk being further detained and removed to jail.

4.7 Defendant Bloomfield issued a criminal citation to Plaintiff Barak for a violation
of Revised Code of Washington 9A.60.045, Criminal Impersonation in the Second Degree,
for creating the impression that Plaintiff Barak was creating the impression that he was a law
enforcement officer, a gross misdemeanor punishable by 364 days in jail and/or a $5000 fine.
That matter is being prosecuted by the State of Washington via the Pierce County
Prosecutor’s Office in Pierce County District Court case 8ZC003450. He has had to fly back
and forth from California, his home, to Washington to deal with this matter. He has incurred
attorney costs to defend that matter.

4.8 Plaintiff Barak has not put on stickers on his motorcycle for fear of similar actions
by police officers.

V. COLOR OF STATE LAW AND AGENCY

5.1 Plaintiff hereby alleges and incorporates paragraphs 1.1 through 4.8 above.

5.2 The actions and omissions of Defendants set out in all paragraphs above were
done under color of the laws of the State of Washington and pursuant to and as a result of the

policies, customs, and practices of the State of Washington and the Washington State Patrol.

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\ 717 Tacoma Ave. South, Suite C Tacoma, WA 98402
Se S <7 T. 253-229-1591 or derek@smithandwhite.com
4 > T. 206-650-6270 or james@smithandwhite.com

{ \ F. 206-400-1145. = www.smithandwhite.com

 
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5.3. Atall relevant times, Defendant Bloomfield were acting within the scope of
their employment with the State of Washington and the Washington State Patrol.
VI. FIRST CAUSE OF ACTION —- UNLAWFUL DETENTION AND ARREST IN
VIOLATION OF THE FIRST AMENDMENT AND 42 U.S.C § 1983
6.1 Plaintiff hereby alleges and incorporates paragraphs 1.1 through 5.3 herein.
6.2 By virtue of the foregoing facts, Defendants unlawfully detained and arrested
Plaintiff in violation of the First Amendment and 42 U.S.C. § 1983 and subjected him to
prosecution and fear of criminal conviction.
6.3 As a proximate result of the defendants’ use of unreasonable force, Plaintiff
Barak’s civil rights were violated and he has suffered damages in an amount to be determined
at trial.
VII. SECOND CAUSE OF ACTION —- LIABILITY OF WASHINGTON
STATE PATROL AND THE STATE OF WASHINGTON BASED ON

POLICIES, PRACTICES AND/OR CUSTOMS IN VIOLATION OF
THE FIRST AMENDMENT AS WELL AS OF 42 U.S.C. § 1983

7.1 Plaintiff hereby alleges and incorporates paragraph 1.1 through 6.3 herein.

7.2 During the period relevant herein, the Defendant State of Washington ratified
the actions of Defendant Bloomfield complained of herein.

7.3 By the foregoing State policies, practices and customs, and omissions,
defendant State has acted, and has failed to act in violation of the First Amendment of the

U.S. Constitution and of 42 U.S.C. § 1983.

The Law Offices of Smith & White PLLC Derek M. Smith & James J. White
717 Tacoma Ave. South, Suite C Tacoma, WA 98402
YS YY Y T. 253-229-1591 or derek@smithandwhite.com
& > T. 206-650-6270 or james@smithandwhite.com

{| \ F. 206-400-1145 www.smithandwhite.com

 
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7.4 As a proximate result of the foregoing State policies, practices, and/or customs,
Plaintiff's civil rights were violated, and he has suffered damages in an amount to be
determined at trial.

VII. PRAYER FOR RELIEF

WHEREFORE, Plaintiff Barak, prays for judgment against the defendant as follows:

8.1 Compensatory damages, including general and special damages, as proven at
the time of trial, with interest thereon;

8.2 Punitive damages against defendants WSP and/or Bloomfield;

8.3 Reasonable attorneys’ fees and costs pursuant to 42 U.S.C. § 1988;

8.4 Permanent injunctive relief requiring defendants to cease and desist from
further detention, interrogation, harassment and intimidation related to humorous and/or
satiric stickers on vehicles; and

8.5 Such other and further relief as this Court deems just and equitable under the
circumstances of this case.

DATED this 3 day of February, 2020.

 

Pee wo WSBA #26036

THE LAW OEPICE OF SMITH & WHITE PLLC
Counsel for Plaintiff

717 Tacoma Ave. South, Suite C

Tacoma, WA 98402

T. 253-229-1591 or Derek@smithandwhite.com
T. 253-650-6270 or james@smithandwhite.com
F. 206-400-1145 |= www.smithandwhite.com

The Law Offices of Smith & White PLLC Derek M. Smith & James J. White
717 Tacoma Ave. South, Suite C Tacoma, WA 98402
SY YS, y T. 253-229-1591 or derek@smithandwhite.com
~ ~ T. 206-650-6270 or james@smithandwhite.com

{| } F. 206-400-1145 www.smithandwhite.com

 
